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                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________
No. 21-3021                                                      September Term, 2020
                                                                         1:21-cr-00175-TJK-1
                                                                         1:21-cr-00175-TJK-2
                                                            Filed On: June 25, 2021
United States of America,

                  Appellee

         v.

Joseph Randall Biggs,

                  Appellant


------------------------------

Consolidated with 21-3022

               ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

         BEFORE:           Pillard, Wilkins, and Rao, Circuit Judges

                                          JUDGMENT

        This appeal was considered on the record from the United States District Court
for the District of Columbia and on the memoranda of law and fact filed by the parties.
The court has determined that the issues presented occasion no need for an opinion.
See D.C. Cir. Rule 36. It is

        ORDERED AND ADJUDGED that the district court’s pretrial detention orders
entered on April 20, 2021 be affirmed. Appellants have not shown that the district court
clearly erred in finding that no condition or combination of conditions of release would
reasonably assure the safety of the community. See United States v. Munchel, 991
F.3d 1273, 1282 (D.C. Cir. 2021). As we explained in Munchel, “those who actually
assaulted police officers and broke through windows, doors, and barricades, and those
who aided, conspired with, planned, or coordinated such actions, are in a different
category of dangerousness than those who cheered on the violence or entered the
Capitol after others cleared the way.” Id. at 1284. In contrast to the defendants in
Munchel, the district court here found that appellants provided leadership and planning
for the Proud Boys in connection with the events at the Capitol on January 6, 2021,
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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 21-3021                                                September Term, 2020

coordinating a large group of people and facilitating unlawful conduct. Appellants have
not shown this finding was clearly erroneous, nor have they shown that the district court
failed to consider conditions of release that could reasonably assure the safety of the
community or that it failed to hold the government to its burden of proof. See id. at
1280.

       To the extent that appellants argue that any information obtained after the district
court’s ruling independently warrants pretrial release, they should present such
arguments to the district court in the first instance. See id. at 1281–82 (“Appellants did
not raise [this] argument below, so we decline to pass on it in the first instance without
the benefit of full briefing.”); see also 18 U.S.C. § 3142(f) (providing that the district
court may reopen detention hearing based on new information).

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after the
resolution of any timely petition for rehearing or petition for rehearing en banc. See
Red. R. App. P. 41(b); D.C. Cir. Rule 41.


                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk




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